IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
IN THE MATTER OF:
KENNETH L. LAWSON (# 0042468)
RESPONDENT Case No.: 1:07-MC-021-MHW
ORDER

It appearing to the Court that on October 4, 2011, an Order was entered in this
proceeding directing Respondent to show cause within 30 days why this Court should not impose
identical discipline on him as heretofore imposed by the Supreme Court of Ohio; and that notice
was mailed to the respondent at Respondent’s last known address, by certified mail, and posted
to this Court’s official website, and no response having been filed with the Clerk of this Court;

IT IS THEREFORE ORDERED that Respondent be permanently disbarred from
the practice of law in this Court, pursuant to Rule II of the Model Federal Rules of Disciplinary
Enforcement adopted by this Court on February 1, 1979. Respondent is hereby ordered to cease
and desist from the practice of law in any form and is forbidden to appear on behalf of another
before this Court. It is further ordered that Respondent be forbidden to counsel or advise, or
prepare legal instruments for others or in any manner perform services of any kind for others
which would constitute the practice of law in this Court. Respondent is also forbidden to hold
himself out to another or to the public as being authorized to perform legal services, and he is
hereby divested of each and all of the rights, privileges and prerogatives customarily accorded to
a member in good standing of the Bar of this Court.

IT IS FURTHER ORDERED that the Respondent surrender his certificate of
admission to practice in this Court to the Clerk of this Court, forthwith, and that his name be
stricken from the roll of attorneys maintained by this Court.

IT IS FURTHER ORDERED that within 30 days from the date of filing of this
Order, the Respondent shall:

1. Notify all clients being represented in pending matters in this Court and any co-counsel

of his disbarment and his consequent disqualification to act as an attorney after the effective date
of this Order, and, in the absence of co-counsel, also notify the clients to seek legal service
elsewhere, calling attention to any urgency in seeking the substitution of another attorney in his
place;

2. Regardless of any fees or expenses due respondent, deliver to all clients being
represented in pending matters in this Court any papers or other property pertaining to the clients,
or notify the clients or co-counsel, if any, of a suitable time and place where the papers or other
property may be obtained, calling attention to any urgency for obtaining such papers or other
property;

3. Regarding any actions pending in this Court, refund any part of any fees or expenses
paid in advance that are unearned or not paid, and account for any trust money or property in
possession or control of respondent;

4. Notify opposing counsel in pending litigation in this Court, in the absence of counsel,
the adverse parties, of his disqualification to act as an attorney after the effective date of this
Order;

5. All notices required by this Order shall be by certified mail and shall contain a return
address where communications may thereafter be directed to respondent;

6. File with the Clerk of this Court an affidavit showing compliance with this Order and
Proof of Service of Notices required therein. Such affidavit shall set forth the address where the
affiant may receive communications and the Clerk shall be kept advised of any change of address;

7. Retain and maintain a record of the various steps taken by respondent pursuant to this
Order.

IT IS FURTHER ORDERED that the Clerk of this Court issue certified copies
of this Order to the Disciplinary Counsel of the Supreme Court of Ohio, to the Clerks of the
Supreme Court of the United States and the United States Court of Appeals for the Sixth Circuit,
to the National Discipline Data Bank, to the United States Bankruptcy Court for the Southern
District of Ohio, and publish this Order to this Court’s official website.

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Michael H. Watson, Judge
United States District Court
Southern District of Ohio

